            Case MDL No. 3047 Document 79 Filed 09/06/22 Page 1 of 2




UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
             NOTICE OF PRESENTATION OR WAIVER OF ORAL ARGUMENT


         3047
MDL No. _______ & TITLE - IN RE: Social Media Adolescent Addiction/Personal Injury Prods. Lit.

1.     Oral Argument – Check ONE of the following boxes:

               ✔     The attorney designated below shall PRESENT ORAL ARGUMENT at the Panel
                     hearing session on behalf of the designated party or parties. (Note: All attorneys
                     presenting oral argument should be mindful of Panel Rule 11.1(d)(i), which states
                     that:

                             Absent Panel approval and for good cause shown, only those parties to
                             actions who have filed a motion or written response to a motion or order
                             shall be permitted to present oral argument.

                     Also note that Rule 11.1(e) requires counsel with like positions to confer prior to
                     oral argument for the purpose of selecting a spokesperson to avoid duplication
                     during oral argument.)

                     The party or parties listed hereafter will WAIVE ORAL ARGUMENT pursuant to
                     Rule 11.1(b)(i). (Note: A party waiving oral argument need not appear at the
                     hearing session, through counsel or otherwise.)

                     The party or parties listed hereafter will WAIVE ORAL ARGUMENT IF ALL
                     OTHER PARTIES IN THIS MATTER WAIVE ORAL ARGUMENT; otherwise,
                     the attorney designated below shall present oral argument at the Panel hearing
                     session on behalf of the designated party or parties pursuant to Rule 11.1. (Note:
                     In the event of a global waiver, the parties and their counsel need not attend the
                     hearing session.)

2.     Position on Centralization – Check ONE of the following boxes:

                     Support Centralization

              ✔      Oppose Centralization

                     Other ____________________________________________________________

3.     Position on Transferee District. If you SUPPORT Centralization or if you OPPOSE
       centralization but ALTERNATIVELY SUPPORT Centralization in a particular venue(s),
       if the Panel orders centralization over your objections, indicate your proposed transferee
       district(s) here:

       ________________________________________________________________________
            Case MDL No. 3047 Document 79 Filed 09/06/22 Page 2 of 2




4.    Change of Position from Written Response – If your position regarding Centralization or
      the choice of transferee district has changed from the position set forth in your motion or
      written response to the motion or order, check the following box:

5.    Parties Represented – Indicate party name and state whether plaintiff or defendant. Attach
      list if more than one action:
       Please see attached list.




6.    Short Case Caption(s) – Include District(s) and Civil Action No(s). Attach list if more than
      one action:
       Please see attached list.




7.    Name and Address of Attorney Designated to Present Oral Argument:

      Brian M. Willen
      ____________________________________________________
      Name

      Wilson Sonsini Goodrich & Rosati
      ____________________________________________________
      Law Firm

      New York
      __________________________________________            NY
                                                           _____
      City                                                 State


                      650-849-3340
      Telephone No.: _____________________________

                     bwillen@wsgr.com
      Email Address: _______________________________________________________




September 6, 2022
_______________        __________________________
                       Brian M. Willen                     /s/ Brian M. Willen
                                                           ______________________________
      Date                    Printed Name                         Authorized Signature




                                                                             JPML Form 9 (12/15)
